         Case 5:20-cv-00612-PRW Document 1-1 Filed 06/29/20 Page 1 of 9




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA

PEOPLE FOR THE ETHICAL                        )
TREATMENT OF ANIMALS, INC.,                   )
                                              )
                       Plaintiff,             )
v.                                            )
                                              )
WILDLIFE IN NEED AND                          )      Case No. 4:17-cv-186
WILDLIFE IN DEED, INC.,                       )
TIMOTHY L. STARK, AND                         )
MELISA D. STARK and JEFF LOWE,                )
                                              )
                       Defendants.            )

     NOTICE OF SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

       PLEASE TAKE NOTICE that on June 15, 2020, at 9:00 a.m. CST, Plaintiff will take

the oral and videotaped deposition of Lauren Lowe, by remote means, at 25803 N County Road

3250, Wynnewood, OK 73098. This deposition will take place before a duly qualified notary

public or other officer authorized by law to administer oaths. A copy of the subpoena is attached

hereto at Exhibit 1.

       PLEASE TAKE FURTHER NOTICE that Plaintiff is requesting that Lauren Lowe

produce certain records to Plaintiff on or before June 11, 2020. A description of the records is

found in the subpoena that is attached hereto at Exhibit 2.

Dated: May 29, 2020                                  PEOPLE FOR THE ETHICAL
                                                     TREATMENT OF ANIMALS, INC.

                                                    By: /s/ Paul Olszowka
                                                    One of its Attorneys




                                     MOTION TO ENFORCE - EXHIBIT 1
         Case 5:20-cv-00612-PRW Document 1-1 Filed 06/29/20 Page 2 of 9




      Caitlin Hawks                                Brian W. Lewis
      Gabriel Walters                              Paul T. Olszowka
      Asher Smith                                  BARNES & THORNBURG LLP
      PETA FOUNDATION                              One North Wacker Drive
      1536 16th Street NW                          Suite 4400
      Washington, DC 20036                         Chicago, Illinois 60606
      Phone: (202) 483-7382                        Telephone: 312- 357-1313
      caitlinh@petaf.org                           brian.lewis@btlaw.com
      gabew@petaf.org                              paul.olszowka@btlaw.com
      ashers@petaf.org




                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 29, 2020, I sent a true and correct copy of the foregoing

notice and its exhibits was sent to the addresses listed via e-mail and U.S. Mail:

      J. Clayton Culotta                                  Timothy Stark
      CULTOTTA CULOTTA LLP                                3320 Jack Teeple Road
      815 E. Market Street                                Charlestown, IN 47111
      New Albany, IN 47150                                Email: wildlifeinneed@aol.com
      clay@culottalaw.com

      Jeff Lowe,
      25803 N County Road 3250
      Wynnewood, OK 73098
      returnprice@hotmail.com.


Dated: May 29, 2020                                   /s/ Paul Olszowka


                                                      Paul T. Olszowka
                                                       Paul.Olszowka@btlaw.com
                                                      BARNES & THORNBURG LLP
                                                      One North Wacker Drive, Suite 4400
                                                      Chicago, Illinois 60606
                                                      Telephone: 312- 357-1313
                                                      Facsimile: 312-759-5646
Case 5:20-cv-00612-PRW Document 1-1 Filed 06/29/20 Page 3 of 9




        Exhibit 1
                          Case 5:20-cv-00612-PRW Document 1-1 Filed 06/29/20 Page 4 of 9
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 1)



                                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                                SOUTHERN DISTRICT OF INDIANA

PEOPLE FOR THE ETHICAL TREATMENT OF
ANIMALS, INC.,
                       Plaintiff
v.                                                                                            Civil Action No. 4:17-cv-186


WILDLIFE IN NEED AND WILDLIFE IN DEED, INC., et
al.,
            Defendants
                     SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

TO:         Lauren Lowe
            25803 N County Road 3250
            Wynnewood, OK 73098

             Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a deposition to
be taken in this civil action. If you are an organization, you must designate one or more officers, directors, or managing agents, or
designate other persons who consent to testify on your behalf about the following matters, or those set forth in an attachment:

     Place: 25803 N County Road 3250, Wynnewood, OK 73098, or at any place                    Date and Time: June 15, 2020 at 9:00 a.m. CT or
     of the deponent’s choosing, via internet-based video teleconferencing, or by             as may be mutually agreed
     telephone if internet service is not available. Parties wishing to participate in
     the deposition will have the option to do so by internet or telephone. The
     deposition shall be before a certified court reporter authorized to administer
     oaths who will be remote and will not be in the presence of the deponent. At
     least three (3) calendar days before the deposition undersigned counsel, or his
     co-counsel, will provide necessary log in credentials and call-in numbers.

            The deposition will be recorded by this method:                          Court Reporter and Videographer


             Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit their inspection, copying, testing, or sampling of the material:



          The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance; Rule 45(d),
relating to your protection as a person subject to subpoena, and Rule 45(e) and (g), relating to your duty to respond to this subpoena
and the potential consequences of not doing so.

Date: May 29, 2020
                                    CLERK OF COURT


                                                                                 OR
                   ___________________________________________                            __________________________________
                           Signature of Clerk or Deputy Clerk                                      Attorney’s signature
____________________________________________________________________________________________________________
The name, address, e-mail and telephone number of the attorney representing People for the Ethical Treatment of Animals, Inc., who
issues or requests this subpoena, are: Brian W. Lewis, Barnes & Thornburg, LLP, One North Wacker Drive, Suite 4400, Chicago,
Illinois 60606; brian.lewis@btlaw.com, (312) 214-5608.
____________________________________________________________________________________________________________
                                     Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before trial, a notice and
a copy of the subpoena must be served on each party in this case before it is served on the person to whom it is directed. Fed. R. Civ.
P. 45(a)(4).
                          Case 5:20-cv-00612-PRW Document 1-1 Filed 06/29/20 Page 5 of 9
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)




  Case No.: 4:17-cv-186

                                                               PROOF OF SERVICE
                               (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

               I received this subpoena for (name of individual and title, if any)

  _________________________________________________________ on (date) ____________________________.

                          I served the subpoena by delivering a copy to the named individual as follows:

  ____________________________________________________________________________________________________

  ___________________________________________________________ on (date) ___________________; or

                          I returned the subpoena unexecuted because: ____________________________________________________

    ___________________________________________________________________________________________________ .

              Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to
              the witness fee for one day’s attendance, and the mileage allowed by law in the amount of

              $______________________.

  My fees are $__________ for travel and $_____________________ for services, for a total of $                                     .

  I declare under the penalty of perjury that this information is true.

  Date:______________________                                                        ______________________________________________________
                                                                                                         Server’s signature

                                                                                     ______________________________________________________
                                                                                                         Printed name and title


                                                                                     ______________________________________________________
                                                                                                         Server’s address




  Additional information regarding attempted service, etc.:
                          Case 5:20-cv-00612-PRW Document 1-1 Filed 06/29/20 Page 6 of 9



AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)




                                    Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                             described in Rule 45(d)(3)(B), the court may, instead of quashing or
(1) For a Trial, Hearing, or Deposition. A subpoena may command a                    modifying a subpoena, order appearance or production under specified
person to attend a trial, hearing, or deposition only as follows:                    conditions if the serving party:
(A) within 100 miles of where the person resides, is employed, or                    (i) shows a substantial need for the testimony or material that cannot be
regularly transacts business in person; or                                           otherwise met without undue hardship; and
(B) within the state where the person resides, is employed, or regularly             (ii) ensures that the subpoenaed person will be reasonably compensated.
transacts business in person, if the person                                          (e) Duties in Responding to a Subpoena.
(i) is a party or a party’s officer; or                                              (1) Producing Documents or Electronically Stored Information. These
(ii) is commanded to attend a trial and would not incur substantial                  procedures apply to producing documents or electronically stored
expense.                                                                             information:
(2) For Other Discovery. A subpoena may command:                                     (A) Documents. A person responding to a subpoena to produce documents
(A) production of documents, electronically stored information, or                   must produce them as they are kept in the ordinary course of business or
tangible things at a place within 100 miles of where the person resides, is          must organize and label them to correspond to the categories in the
employed, or regularly transacts business in person; and                             demand.
(B) inspection of premises at the premises to be inspected.                          (B) Form for Producing Electronically Stored Information Not Specified.
(d) Protecting a Person Subject to a Subpoena; Enforcement.                          If a subpoena does not specify a form for producing electronically stored
(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney                 information, the person responding must produce it in a form or forms in
responsible for issuing and serving a subpoena must take reasonable steps            which it is ordinarily maintained or in a reasonably usable form or forms.
to avoid imposing undue burden or expense on a person subject to the                 (C) Electronically Stored Information Produced in Only One Form. The
subpoena. The court for the district where compliance is required must               person responding need not produce the same electronically stored
enforce this duty and impose an appropriate sanction—which may include               information in more than one form.
lost earnings and reasonable attorney’s fees—on a party or attorney who              (D) Inaccessible Electronically Stored Information. The person
fails to comply.                                                                     responding need not provide discovery of electronically stored information
(2) Command to Produce Materials or Permit Inspection.                               from sources that the person identifies as not reasonably accessible because
(A) Appearance Not Required. A person commanded to produce                           of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to              order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of         reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,           made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                   requesting party shows good cause, considering the limitations of Rule
(B) Objections. A person commanded to produce documents or tangible                  26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated         (2) Claiming Privilege or Protection.
in the subpoena a written objection to inspecting, copying, testing, or              (A) Information Withheld. A person withholding subpoenaed information
sampling any or all of the materials or to inspecting the premises—or to             under a claim that it is privileged or subject to protection as trial-
producing electronically stored information in the form or forms requested.          preparation material must:
The objection must be served before the earlier of the time specified for            (i) expressly make the claim; and
compliance or 14 days after the subpoena is served. If an objection is made,         (ii) describe the nature of the withheld documents, communications, or
the following rules apply:                                                           tangible things in a manner that, without revealing information itself
(i) At any time, on notice to the commanded person, the serving party                privileged or protected, will enable the parties to assess the claim.
may move the court for the district where compliance is required for an              (B) Information Produced. If information produced in response to a
order compelling production or inspection.                                           subpoena is subject to a claim of privilege or of protection as
(ii) These acts may be required only as directed in the order, and the               trial-preparation material, the person making the claim may notify any
order must protect a person who is neither a party nor a party’s officer from        party that received the information of the claim and the basis for it. After
significant expense resulting from compliance.                                       being notified, a party must promptly return, sequester, or destroy the
(3) Quashing or Modifying a Subpoena.                                                specified information and any copies it has; must not use or disclose the
(A) When Required. On timely motion, the court for the district where                information until the claim is resolved; must take reasonable steps to
compliance is required must quash or modify a subpoena that:                         retrieve the information if the party disclosed it before being notified; and
(i) fails to allow a reasonable time to comply;                                      may promptly present the information under seal to the court for the district
(ii) requires a person to comply beyond the geographical limits                      where compliance is required for a determination of the claim. The person
specified in Rule 45(c);                                                             who produced the information must preserve the information until the claim
(iii) requires disclosure of privileged or other protected matter, if no             is resolved.
exception or waiver applies; or                                                      (g) Contempt.
(iv) subjects a person to undue burden.                                              The court for the district where compliance is required—and also, after a
(B) When Permitted. To protect a person subject to or affected by a                  motion is transferred, the issuing court—may hold in contempt a person
subpoena, the court for the district where compliance is required may, on            who, having been served, fails without adequate excuse to obey the
motion, quash or modify the subpoena if it requires:                                 subpoena or an order related to it.
(i) disclosing a trade secret or other confidential research, development,
or commercial information; or
(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.
(C) Specifying Conditions as an Alternative. In the circumstances                    For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note
                                                                                     (2013).
Case 5:20-cv-00612-PRW Document 1-1 Filed 06/29/20 Page 7 of 9




        Exhibit 2
                         Case 5:20-cv-00612-PRW Document 1-1 Filed 06/29/20 Page 8 of 9
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

                                                        UNITED STATES DISTRICT COURT
                                                        SOUTHERN DISTRICT OF INDIANA

          PEOPLE FOR THE ETHICAL TREATMENT OF ANIMALS,                                )
          INC.,                                                                       )
                       Plaintiff,                                                     )
                                                                                      )
                 vs.                                                                  )      Case No.: 4:17-cv-00186-RLY-DML
                                                                                      )
          WILDLIFE IN NEED AND WILDLIFE IN DEED, INC., et al                          )
                                                                                      )
                            Defendants.                                               )

                               SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                                 OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
TO:         Lauren Lowe
            25803 N County Road 3250
            Wynnewood, OK 73098

         X Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following documents,
electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the material:

Copies of (1) any and all records concerning the lions, tigers, and hybrids thereof (the “Big Cats”), transferred to or from Wildlife in
Need and Wildlife in Deed, Inc., Timothy L. Stark, or Melisa D. Stark (the “Defendants”), including without limitation, Animal and
Plant Health Inspection Service Forms 7019 and 7020, transfer or disposition records, certificates of veterinary inspection, transport
permits or licenses, any medical records, and inventory records and (2) any recordings you made of Timothy L. Stark, including
without limitation recordings regarding the pulling of Big Cat cubs, their transfer from Wildlife in Need and Wildlife in Deed, Inc., and
potential disclosures or other communications with the United States Department of Agriculture. “Records” includes any video
recordings under your possession, custody, or control, whether stored on any electronic devices or on any internet cloud-based storage.

 Place:                                                                                                                    Date and Time:
     The records should be mailed to Brian Lewis, Barnes & Thornburg, One North Wacker                                                      June 11, 2020 by 4:00
 Drive, Suite 4400, Chicago, IL 60606. For delivery of electronically stored information, please                           p.m. (CT)
 contact Brian Lewis at the email address or phone number listed below.

          Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other property
possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may inspect, measure, survey,
photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                                   Date and Time:

_________________________________________________________________________________________________________________

          The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance; Rule 45(d),
relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to respond to this subpoena
and the potential consequences of not doing so.

Date: 5/29/2020 CLERK OF COURT


                                                                  OR
                            _____________________________                                           _________________
                             Signature of Clerk or Deputy Clerk                 Attorney’s signature
_________________________________________________________________________________________________________________
The name, address, e-mail, and telephone number of the attorney representing the Plaintiff, People for the Ethical Treatment of Animals,
Inc., who issues or requests this subpoena, is: Brian W. Lewis, One North Wacker Drive, Suite 4400, Chicago, Illinois 60606,
brian.lewis@btlaw.com, (312) 214-5608.
_________________________________________________________________________________________
                                        Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the inspection of
premises before trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
                        Case 5:20-cv-00612-PRW Document 1-1 Filed 06/29/20 Page 9 of 9
 AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                    not describe specific occurrences in dispute and results from the expert’s
   (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
 regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
 transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
       (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
 expense.
                                                                                    (e) Duties in Responding to a Subpoena.
  (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
 employed, or regularly transacts business in person; and                           information:
    (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                    must produce them as they are kept in the ordinary course of business or
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                       (B) Form for Producing Electronically Stored Information Not Specified.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
 enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
 fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                    responding need not provide discovery of electronically stored information
                                                                                    from sources that the person identifies as not reasonably accessible because
  (2) Command to Produce Materials or Permit Inspection.                            of undue burden or cost. On motion to compel discovery or for a protective
    (A) Appearance Not Required. A person commanded to produce                      order, the person responding must show that the information is not
 documents, electronically stored information, or tangible things, or to            reasonably accessible because of undue burden or cost. If that showing is
 permit the inspection of premises, need not appear in person at the place of       made, the court may nonetheless order discovery from such sources if the
 production or inspection unless also commanded to appear for a deposition,         requesting party shows good cause, considering the limitations of Rule
 hearing, or trial.                                                                 26(b)(2)(C). The court may specify conditions for the discovery.
    (B) Objections. A person commanded to produce documents or tangible
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
 The objection must be served before the earlier of the time specified for          material must:
 compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
 the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
      (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
 may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
 order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
      (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
 order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
 significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                    notified, a party must promptly return, sequester, or destroy the specified
  (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
    (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
      (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
                                                                                    compliance is required for a determination of the claim. The person who
      (ii) requires a person to comply beyond the geographical limits               produced the information must preserve the information until the claim is
 specified in Rule 45(c);                                                           resolved.
      (iii) requires disclosure of privileged or other protected matter, if no
 exception or waiver applies; or
      (iv) subjects a person to undue burden.                                       (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
 motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
 development, or commercial information; or



                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




DMS 11046185.1
